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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

UNITED SATES OF AMERICA,              :
                                      :
v.                                    :     CRIMINAL INDICTMENT
                                      :     NO. 1:11-CR-264-AT
                                      :
ARMANDO JAIMEZ                        :     CIVIL FILE NO.
   Defendant.                         :     1:15-cv-737-AT

                                 ORDER

       The Magistrate Judge’s Final Report and Recommendation (“R&R”)

[Doc. 657] is currently before the Court. The R&R recommends the denial

of Defendant’s Motion to Vacate [Doc. 624] and the denial of a certificate of

appealability (“COA”).    Pursuant to 28 U.S.C. § 636(b)(1), the Court

reviews any portion of the R&R that is the subject of a proper objection on a

de novo basis and any non-objected portion on a “clearly erroneous”

standard.

       Defendant has filed no objections to the R&R. The Court therefore

has reviewed the Defendant’s motion, the record as a whole, and the R&R

for clear error. The Court has identified no clear error. Moreover, it finds

that the Magistrate Judge has provided a correct assessment of the facts,

posture of the case before trial and plea, and the mandatory minimum
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sentencing consequences (not less than ten years of incarceration) if

Defendant had risked exposing himself to sentencing or trial on Count One.

      Accordingly, the Court ADOPTS the R&R [Doc. 657] and

DENIES the Defendant’s Motion to Vacate [Doc. 624]. The Court further

DENIES a COA in connection with this motion.

      It is so ORDERED this the 31st day of May, 2016.



                                     ___________________________
                                     Amy Totenberg
                                     United States District Judge




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